     Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 1 of 25




              BEFORE THE UNITED STATES JUDICIAL PANEL
                   ON MULTIDISTRICT LITIGATION


IN RE: AT&T INC. CUSTOMER DATA
SECURITY BREACH LITIGATION                   MDL NO. 3114



 INTERESTED PARTY RESPONSE OF PLAINTIFFS SAM KNIGHT AND LACRISTA
   BAGLEY IN OPPOSITION TO PLAINTIFF ALEC PETROSKI’S MOTION FOR
     TRANSFER AND CENTRALIZATION OF RELATED ACTIONS TO THE
        NORTHERN DISTRICT OF TEXAS PURSUANT TO 28 U.S. § 1407
              FOR CONSOLIDATED PRETRIAL PROCEEDINGS




                                    1
           Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 2 of 25




     I.   INTRODUCTION

          Pursuant to 28 U.S.C. § 1407, Interested Party Sam Knight, the named plaintiff in the

action styled Knight v. AT&T Inc., No. CIV-24-324 (W.D. Okla.), and Interested Party Lacrista A.

Bagley, the named plaintiff in the action styled Bagley v. AT&T Inc., No. 3:34-cv-00770 (N.D.

Tex.) (collectively, “Plaintiffs”), by and through their undersigned counsel of record, respectfully

submit this Interested Party Response in Opposition to Plaintiff Alec Petroski’s Motion for

Transfer and Centralization of Related Actions to the Northern District of Texas Pursuant to 28

U.S. § 1407 for Consolidated Pretrial Proceedings (the “Motion”) (Doc. Nos. 1 & 2).

          Plaintiffs support the Motion to the extent it requests the transfer and centralization of all

Related Actions 1 to a common jurisdiction. The Related Actions involve numerous common

questions of law and fact, and consolidation will serve the convenience of the parties and witnesses

and will promote the just and efficient resolution of this litigation. However, compelling logistical

reasons justify transferring the Related Actions to the United States District Court for the Western

District of Oklahoma rather than the United States District Court for the Northern District of Texas.

The Western District of Oklahoma has ideal docket conditions and experienced jurists who will

knowledgably and swiftly aid in the timely resolution of the Related Actions. Therefore, Plaintiffs

respectfully request the Panel transfer the Related Actions to the United States District Court for

the Western District of Oklahoma for the reasons set forth below.

    II.   BACKGROUND

       The underlying nationwide litigation stems from a massive data breach in which the personally

identifiable information (“PII”) of approximately 51,226,382 AT&T, Inc. (“AT&T” or

“Defendant”) customers was released on the dark web on March 17, 2024 (the “Data Breach” or



1
    “Related Actions” are those actions comprising this multidistrict litigation.
                                                    2
           Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 3 of 25




“Breach”). The information exposed varied by individual, but included full names, email

addresses, mailing addresses, phone numbers, Social Security numbers, dates of birth, AT&T

account numbers, and AT&T passcodes.

       Shortly after the Data Breach was announced, well over thirty (30) class action lawsuits were

filed against AT&T in at least seven (7) judicial districts across the nation. The jurisdictions with

pending actions against AT&T include: (i) the Western District of Oklahoma; (ii) the Northern

District of Texas; (iii) the Eastern District of Texas; (iv) the Northern District of Georgia; (v) the

Western District of Missouri; (vi) the Eastern District of California; and (vii) the Northern District

of Illinois. With over thirty (30) lawsuits filed, and the inevitable likelihood that more will follow,

consolidation and centralization are imperative in a venue that has both the experience and capacity

to take on this nationwide litigation.

III.      ARGUMENT

   A. Factors for Selection of Transferee Forums.

          Pursuant to 28 U.S.C. § 1407(a), the Panel may transfer actions to “any district” and has

broad discretion to choose the transferee court. There are several factors the Panel typically takes

into consideration in determining the most appropriate transferee forum. See Federal Judicial

Center, Manual for Complex Litigation § 20.131 (4th ed. 2004). Among these factors are (1)

centrality; (2) location of evidence and witnesses; (3) overall docket conditions; (4) the pendency

of other MDL matters; and (5) the overall experience of the Judge. See D. Herr, Multidistrict

Litigation Manual: Practice Before the Judicial Panel on Multidistrict Litigation §§ 6:5, 6:7, 6:15,

6:17, 6:22 (2024 ed.). For the reasons set forth below, each of these factors weighs in favor of the

Western District of Oklahoma.




                                                   3
        Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 4 of 25




   B. The Western District of Oklahoma is the Most Appropriate Venue for Transferring and
      Consolidating the Related Actions.

            1. Factors 1 and 2: The Western District of Oklahoma is a Central and Easily
               Accessible Location for the Nationwide Litigation Against AT&T.

       In nationwide litigation, such as the litigation here, the Panel has previously favored

centrally located transferee forums. See In re T-Mobile 2022 Customer Data Sec. Breach Litig.,

2023 WL 3829244 (J.P.M.L. 2023) (transferring data breach class actions to a district that provided

central and easily accessible location for nationwide litigation); In re Ashley Madison Customer

Data Sec. Breach Litig., 148 F. Supp. 3d 1378, 1380 (J.P.M.L. 2015) (transferring cases to forum

that was “geographically central and accessible forum for th[e] nationwide litigation.”); In re

Chrysler Pacifica Fire Recall Prods. Liab. Litig., 2022 WL 3134131 (J.P.M.L. 2022) (transferring

to district centrally located to nationwide litigation); In re Deere & Co. Repair Servs. Antitrust

Litig., 2022 WL 2133576 (J.P.M.L. 2022) (transferring to geographically central district that

offered readily accessible forum for nationwide litigation); In re RealPage, Inc., Rental Software

Antitrust Litig., 2023 WL 2875737 (J.P.M.L. 2023) (transferring to district presenting

geographically central, convenient, and accessible venue for nationwide litigation).

       The Panel has continuously recognized the centrality of the Western District of

Oklahoma’s geographic location in selecting it as the optimal transferee forum for other

nationwide litigation. See In re TransData, Inc., Smart Meters Patent Litig., 830 F. Supp. 2d 1381,

1382 (J.P.M.L. 2011) (“We are persuaded that the Western District of Oklahoma is the most

appropriate transferee district. It is near Texas, where many parties are located; is in a

geographically central location for this nationwide litigation; and an action is already pending in

that district.”); In re Samsung Top-Load Washing Mach. Mktg., Sales Pracs. & Prod. Liab. Litig.,

278 F. Supp. 3d 1376, 1378 (J.P.M.L. 2017) (selecting the Western District of Oklahoma in part

because it was “centrally located”); In re Gen. Motors Corp. Piston Slap Prod. Liab. Litig., 314 F.
                                                4
        Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 5 of 25




Supp. 2d 1386, 1388 (J.P.M.L. 2004) (“[T]he Western District of Oklahoma will serve the

convenience of the parties and witnesses and promote the just and efficient conduct of the

litigation.”); In re Farmers Ins. Co., Inc., Ins. Premiums Litig., 295 F. Supp. 2d 1375, 1377

(J.P.M.L. 2003) (“We are persuaded that the Western District of Oklahoma is an appropriate

transferee forum for this litigation. We note that an action is pending there and that this choice

provides a convenient, central forum.”). Thus, it is evident that the Western District of Oklahoma

is an optimal location.

       It is imperative that the Panel select a transferee forum that is geographically central due

to the expansive nature of this litigation. AT&T is one of the largest telecommunications

companies in the world, 2 offering telecommunication and internet services to consumers in all fifty

(50) states. 3 AT&T has approximately 5,340 locations across the U.S. 4 and owns and operates

twenty-two (22) internet data centers spanning from New York to California. 5 In addition to its

nationwide presence, AT&T also has a global presence. AT&T has eight (8) internet data centers

in Asia Pacific; 6 offices in Canada; 7 ninety-nine (99) data centers in Europe, the Middle East, and




2
  Nathan Reiff, 10 Biggest Telecommunications (Telecom) Companies, INVESTOPEDIA (Sept. 29,
2023), https://www.investopedia.com/articles/markets/030216/worlds-top-10-
telecommunications-companies.asp (last visited Apr. 19, 2024).
3
 Explore AT&T Services in your area, AT&T, https://www.att.com/local/ (last visited Apr. 19,
2024).
4
 Number of AT&T locations in the United States, SCRAPEHERO A DATA COMPANY (Apr. 2, 2024),
https://www.scrapehero.com/location-reports/AT%20&%20T-USA/ (last visited Apr. 19, 2024).
5
 CLOUD AND COLOCATION, https://cloudandcolocation.com/colocation-provider/att/ (last visited
Apr. 19, 2024).
6
  AT&T in Asia Pacific, AT&T BUSINESS, https://www.business.att.com/industries/att-global-
business-asia-pacific.html (last visited Apr. 19, 2024).
7
  AT&T in Canada, AT&T BUSINESS, https://www.business.att.com/industries/att-global-
business-canada.html (last visited Apr. 19, 2024).
                                                 5
        Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 6 of 25




Africa; 8 and headquarters in Mexico City and Sao Paulo. 9 Thus, due to AT&T’s nationwide and

global presence, the Western District of Oklahoma is an ideal geographically central location for

this nationwide litigation.

       Due to AT&T’s nationwide and global presence, documents and witnesses will not be

concentrated in one location, which further supports a geographically central venue such as the

Western District of Oklahoma. “Before the advent of online document depositories and the

potential availability of all the documents in a case on a single web-accessible depository, the

location of documents was a very important factor.” Multidistrict Litigation Manual § 6:5.

However, now, most if not all discovery and proceedings can proceed electronically. Documents

can be produced electronically, witnesses can be deposed via video conference, and attorneys often

appear virtually for court hearings. Thus, while AT&T may have its headquarters in Texas, which

is a very short drive from Oklahoma City, this is of diminished importance due to the rise of

technology. Rather, the key to success in managing this litigation will be selecting a transferee

forum that has the capacity and experience to guide the litigation to resolution. See In re: Wright

Med. Tech., Inc., Conserve Hip Implant Prod. Liab. Litig., 844 F. Supp. 2d 1371, 1373 (J.P.M.L.

2012) (finding that because the cases involved medical devices that were marketed and sold

throughout the nation, the Northern District of Georgia was an appropriate transferee forum

because it was “central, accessible, and enjoy[ed] favorable docket conditions,” even though the

defendant was not based in Georgia).




8
      AT&T       in     Europe,   Middle       East,    and     Africa,   AT&T       BUSINESS,
https://www.business.att.com/industries/att-global-business-europe-middle-east-and-africa.html
(last visited Apr. 19, 2024).
9
      AT&T       in     Latin  America       and     the    Caribbean,      AT&T      BUSINESS,
https://www.business.att.com/industries/att-global-business-latin-america-and-caribbean.html
(last visited Apr. 19, 2024).
                                                6
          Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 7 of 25




         Not only is the Western District of Oklahoma centrally located, but it is also an easily

accessible metropolitan location, which the Panel favors when selecting transferee forums. See In

re Enron Corp. Sec., Derivative & “ERISA” Litig., 196 F. Supp. 2d 1375, 1376–77 (J.P.M.L.

2002) (transferring litigation to a district court “in a major metropolitan center that is well served

by major airlines, provides ample hotel and office accommodations, and offers a well-developed

support system for legal services.”); In re Laughlin Prod., Inc. Patent Litig., 240 F. Supp. 2d 1358,

1359 (J.P.M.L. 2003) (transferring to “an accessible metropolitan district”). The Western District

of Oklahoma is situated in Oklahoma City, a major metropolitan area offering convenient travel

and readily available cost efficient accommodations. The City’s largest airport offers travel by

multiple major passenger airlines and nonstop service to twenty-one (21) cities across the United

States, including both coasts as well as northern and southern cities. 10 The city has Amtrak

service 11 as well as numerous other forms of ground transportation, including Uber, 12 Lyft, 13 and

an extensive public transportation system. 14 Visitors can choose from a wide variety of hotel

accommodations at affordable price points, including hotels near the courthouse and the airport. 15




10
  See Airports, CITY OF OKLAHOMA CITY, https://www.okc.gov/residents/airports (last visited
Apr. 19, 2024).
11
     AMTRAK, https://www.amtrak.com/stations/okc (last visited Apr.19, 2024).
12
  See Getting around Oklahoma City, OK, UBER,
https://www.uber.com/global/en/cities/oklahoma-city/?utm_campaign=CM2198659-search-bing-
brand_1_-99_US-National_o-d_web_acq_cpc_en_Generic_Phrase_uber_kwd-
75729274461184%3Aloc-71253__1211662316540068_e_c&utm_source=bing (last visited Apr.
19, 2024).
13
 See Cities, LYFT, https://www.lyft.com/rider/cities/oklahoma-city-ok (last visited Apr. 19,
2024).
14
   See EMBARK, www.embarkok.com (last visited Apr. 19, 2024) (offering transportation by bus,
ferry, streetcar, bike share, and rideshare).
15
   See Oklahoma City Hotels, OKC THE MODERN FRONTIER, www.visitokc.com/hotels/ (last
visited Apr. 22, 2024) (offering hotel selections in downtown, Bricktown, and near the airport).
                                                  7
        Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 8 of 25




Oklahoma City combines western charm with its modern metropolitan atmosphere to create an

environment that is conducive to handling complex litigation such as this.

        The Western District of Oklahoma is centrally located, easily accessible to all parties, and

is located in a bustling metropolitan area. Hence, the Western District of Oklahoma is the most

favorable forum for the litigation against AT&T.

             2. Factor 3: The Western District of Oklahoma’s Docket Statistics Support
                Transfer and Consolidation in the Western District of Oklahoma.

        Further, the Western District of Oklahoma’s favorable docket conditions warrant its

selection as the transferee forum for this litigation. “The Panel has expressly stated that it will

consider docket conditions in selecting a transferee district.” Multidistrict Litigation Manual §

6:17; see also In re: TransData, Inc., Smart Meters Pat. Litig., 830 F. Supp. 2d at 1382

(transferring cases to the Western District of Oklahoma after finding the Western District of

Oklahoma’s docket conditions were more favorable than other proposed transferee forums); In re:

Webvention LLC ('294) Pat. Litig., 831 F. Supp. 2d 1366, 1367 (J.P.M.L. 2011) (transferring cases

to a district court with favorable docket conditions where the other proposed transferee forums had

large civil caseloads); In re Educational Testing Serv. PLT 7-12 Test Scoring Litig., 350 F. Supp.

2d 1363 (J.P.M.L. 2004) (transfer to district with favorable caseload conditions); In re Sony

Gaming Networks and Customer Data Sec. Breach Litig., 802 F. Supp. 2d 1370 (J.P.M.L. 2011)

(transfer to district that “enjoys general docket conditions conducive to the efficient resolution of

this litigation”). As demonstrated below, the Western District of Oklahoma has very favorable

dockets conditions that will facilitate efficient resolution of this litigation.

        The most recent Federal Court Management and Caseload Statistics for the Western

District of Oklahoma indicate that it is not unduly congested, and that it has the capacity to handle




                                                    8
            Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 9 of 25




this litigation.16 The Western District of Oklahoma has the least busy docket out of the seven

districts with pending litigation against AT&T. 17 The Western District of Oklahoma has the lowest

number of total cases filed (1,130) and pending (1,076) in 2023.18 Of all the forums mentioned,

the Western District of Oklahoma also has one of the smallest percentages of cases pending for

three years or more at only 6.4%. 19 Additionally, the Western District of Oklahoma has a very

favorable disposition rate with the median civil case resolved in a mere 8.8 months after filing, far

surpassing other jurisdictions. 20 These statistics demonstrate the Western District of Oklahoma’s

ability to resolve this case in a timely and efficient fashion.

             U.S. District Courts––Civil Cases Commenced, Terminated, and Pending
                       During the 12-Month Period Ending March 31, 2023 21

             District Court            Total Number of Filed          Total Number of Pending
                                               Cases                           Cases
     Western District of Oklahoma              1,130                           1,076
      Northern District of Texas               5,384                           3,937
       Eastern District of Texas               3,194                           3,176
      Northern District of Illinois            8,175                           9,946
     Eastern District of California            3,982                           5,812
     Northern District of Georgia              6,133                           5,333
     Western District of Missouri              1,858                           1,335

                   U.S. District Courts––Percent of Civil Cases Over 3 Years Old
                     During the 12-Month Period Ending December 31, 2023 22

                 District Court                 Total Percent of Civil Cases Over 3 Years Old
           Western District of Oklahoma                              6.4%
            Northern District of Texas                              11.1%
            Eastern District of Texas                                8.0%

16
     See Exs. 1–5 (highlighting added for the Panel’s convenience).
17
     See Ex. 1.
18
     Id.
19
     See Ex. 4.
20
     For example, the Eastern District of California has an average disposition rate of 10.1 months.
21
     See Ex. 1.
22
     See Ex. 4.
                                                   9
           Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 10 of 25




           Northern District of Illinois                              13.0%
           Eastern District of California                             18.6%
           Northern District of Georgia                                6.0%
           Western District of Missouri                                9.8%


           As evidenced above, the Western District of Oklahoma boasts very favorable docket

statistics that are worthy of the Panel’s consideration. Therefore, this factor weighs in favor of the

Western District of Oklahoma.

                3. Factor 4: The Western District of Oklahoma Currently Does Not Have Any
                   Multidistrict Litigation Pending.

           What makes the Western District of Oklahoma the most conducive to this nationwide

litigation, is that the Western District of Oklahoma currently does not have any MDL actions

pending. 23 “The Panel has expressly stated that the fact a district has no pending dockets of

multidistrict matters transferred by the Panel is a factor that favors transfer to that district.”

Multidistrict Litigation Manual § 6:22. This is in stark contrast to the other jurisdictions with

litigation pending against AT&T. For comparison, the Northern District of Georgia has four (4)

MDLs pending, the Northern District of Illinois has sixteen (16) MDLs pending, the Western

District of Missouri has four (4) MDLs pending, the Eastern District of Texas has one (1) MDL

pending, and the Northern District of Texas has two (2) MDLs pending. 24 The absence of other

multidistrict litigation tips the scale in favor of the Western District of Oklahoma. See In re Teflon

Prod. Liab. Litig., 416 F. Supp. 2d 1364, 1365 (J.P.M.L. 2006) (transferring cases to the Southern

District of Iowa because the Southern District of Iowa provided a geographically central location,

did not have any other multidistrict litigation dockets, and enjoyed favorable docket conditions);

In re Pressure Sensitive Labelstock Antitrust Litig., 290 F. Supp. 2d 1374, 1376 (J.P.M.L. 2003)


23
     See Ex. 5.
24
     Id.
                                                 10
         Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 11 of 25




(transferring actions to the Middle District of Pennsylvania because it did “not currently have

multidistrict dockets” and enjoyed favorable docket conditions); In re: Actos Prod. Liab. Litig.,

840 F. Supp. 2d 1356, 1357 (J.P.M.L. 2011) (transferring nationwide litigation with actions

pending in numerous districts to a transferee forum that had no other multidistrict litigation

pending).

              4. Factor 5: The Western District of Oklahoma has the Expertise and Resources
                 Necessary to Manage the Nationwide Litigation Against AT&T.

          Lastly, “[t]he Panel has repeatedly indicated its preference for transferring multidistrict

cases to courts with experience handling complex cases.” Multidistrict Litigation Manual § 6:15.

As the Panel has found many times before, the Western District of Oklahoma is well-equipped

with the experience, resources, and jurists to handle the demands of this multidistrict litigation.

See In re: Cox Enterprises, Inc., Set-Top Cable Television Box Antitrust Litig., 626 F. Supp. 2d

1343 (J.P.M.L. 2009) (transferring cases to the Western District of Oklahoma where the transferee

judge had the “time and experience to steer th[e] litigation on an expeditious course”); In re

Samsung Top-Load Washing Mach. Mktg., Sales Pracs. & Prod. Liab. Litig., 278 F. Supp. 3d at

1378 (transferring cases to the Western District of Oklahoma where the transferee judge was “an

experienced jurist” who would “steer th[e] litigation on a prudent course”); In re Gen. Motors

Corp. Piston Slap Prod. Liab. Litig., 314 F. Supp. 2d at 1387 (The Western District of Oklahoma

is “equipped with the resources that this complex docket is likely to require.”).

          Honorable Judge Joe L. Heaton, who is currently assigned to the case pending in the

Western District of Oklahoma, is a highly credentialed and experienced jurist who, following a

distinguished career in private practice, has served on the federal bench since 2001. 25 Judge Heaton

was the Chief Judge of the Western District of Oklahoma from 2015 to 2019, and assumed senior


25
     See Ex. 6.
                                                  11
           Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 12 of 25




status on July 1, 2019. 26 27 Importantly, Judge Heaton generally takes only fifty (50) days to rule

on motions to dismiss and an average of only sixty-eight (68) days to rule on motions for summary

judgment. 28 Notably, cases overseen by Judge Heaton are typically resolved in less than a year’s

time. 29

           The Panel previously recognized Judge Heaton’s expertise and skill by assigning him to In

re Gen. Motors Corp. Piston Slap Prod. Liab. Litig., 314 F. Supp. 2d 1386 (J.P.M.L. 2004). Judge

Heaton is well-versed in multidistrict litigation and does not currently have any other multidistrict

litigation docket, which necessarily supports transfer of the litigation to Judge Heaton. 30 See In re

Farmers Ins. Co., Inc., Ins. Premiums Litig., 295 F. Supp. 2d at 1377 (assigning litigation to the

Western District of Oklahoma because it did not have any other multidistrict litigation docket and

the transferee judge had a favorable caseload); In re One Apus Container Ship Incident on

November 30, 2020, 2022 WL 2127331 (J.P.M.L. 2022) (transferring cases to experienced

transferee judge with capacity to take on complex litigation); In re Abbott Labs., et al., Preterm

Infant Nutrition Prods. Liab. Litig., 600 F. Supp. 3d 1345 (J.P.M.L. 2022) (transferring to

“seasoned jurist who is well-versed in the complexities of multidistrict litigation”); In re Procter

& Gamble Aerosol Prods. Mktg. and Sales Practices Litig., 600 F. Supp. 3d 1343 (J.P.M.L. 2022)


26
     Id.
27
  Not only is Judge Heaton’s experience on the bench exemplary, his experiences prior to taking
his place as a federal judge give him a wide breadth of understanding. Prior to serving on the
bench, Judge Heaton served as a State Representative in the Oklahoma House of Representatives
and was re-elected three (3) times.27 Judge Heaton was also a Special Assistant United States
Attorney in the United States Attorney's Office, Western District of Oklahoma from 1992 to
1993.27 Following that, Judge Heaton was a First Assistant United States Attorney of the United
States Attorney's Office, Western District of Oklahoma from 1996 to 2001.27 Judge Heaton’s
diverse experience coupled with his distinguished career as a federal judge make him an ideal
judge to preside over this complex litigation.
28
     Id. at p. 1.
29
     Id.
30
     See Ex. 5.
                                                  12
        Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 13 of 25




(transferring to experienced transferee judge with willingness and ability to manage litigation

efficiently).

        As this Panel has already found, the Western District of Oklahoma is “equipped with the

resources that this complex docket is likely to require.” In re Gen. Motors Corp. Piston Slap Prod.

Liab. Litig., 314 F. Supp. 2d at 1388. Therefore, the Western District of Oklahoma is the most

compelling transferee forum for this multidistrict litigation.

IV.     CONCLUSION

        The Western District of Oklahoma is optimally situated with experienced judges, and

capable of effectively managing this nationwide litigation. For these reasons, Plaintiffs respectfully

request an Order granting Transfer and Consolidation to Judge Heaton in the Western District of

Oklahoma. The Western District of Oklahoma has the resources and capacity to properly oversee

this litigation. Alternatively, Plaintiffs support transfer and consolidation of the actions to the

Northern District of Texas.

Date: April 25, 2024                                  Respectfully Submitted,

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                                                 13
       Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 14 of 25




                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


IN RE: AT&T INC. CUSTOMER DATA
SECURITY BREACH LITIGATION                                  MDL NO. 3114




                                     PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, the undersigned hereby certifies that on April 25, 2024, I caused

a true and correct copy of the foregoing to be filed and served electronically with the Clerk of the

Court for the JPML using the CM/ECF System or via email on all counsel or parties as follows:


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 N.D. Tex. Case No. 3:24-cv-00803                Wesley Hansen
                                                 N.D. Tex. Case No. 3:24-cv-00774
                                               1
      Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 15 of 25




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                                          9
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                                         10
     Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 24 of 25




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                                            11
     Case TXN/3:24-cv-00770 Document 13-1 Filed 04/25/24 Page 25 of 25




N.D. Tex. Case No. 3:24-cv-00954-D                N.D. Tex. Case No. 3:24-cv-00803

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Sherman, TX 75090

      Date: April 25, 2024
                                                  /s/ Kennedy M. Brian
                                                  Kennedy M. Brian




                                             12
